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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS                               MJG   5   PH   2:   8
                                AUSTIN DIVISION
 UMG RECORDINGS, INC , et al,                      §
                                                                                  i




 V.                                                §        CAUSE NO. A-17-CA-365-LY
                                                   §        CAUSE NO. A-18-MC-613-LY
 GRANDE COMMUNICATIONS                             §
 NETWORKS, LLC, and PATRIOT                        §
 MEDIA CONSULTING, LLC                             §

                                         [I)   1   0a   1




      Before the Court is Grande's Motion to Compel (Dkt. No. 1) filed in In Re: Subpoena to

Recording IndustryAssociation ofAmerica, Cause No. A-i 8-MC-6 13 -LY. The Court ORDERS that

Grande's Motion to Compel BE FILED in UMG Recordings Inc., et al.      v.   Grande Communications

Networks, LLC, Cause No. A-17-CA-365-LY and FURTHER ORDERS that Cause No. A-i8-MC-

613-LY BE CLOSED.

       SIGNED this l5tht' day of August, 2018.




                                         ANDREW W. AUSTIN
                                         UNITED STATES MAGISTRATE JUDGE
